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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

    ALEXANDRIA H. QUINN,                        )
                                                )
                Plaintiff,                      )
                                                )
          V.                                    )   Case No. 1:14-cv-1033-ALB
                                                )
    CITY OF TUSKEGEE, ALABAMA,                  )
    and LEVY KELLY,                             )
                                                )
                Defendants.                     )
                                                )
                                                )
                                                )
                                                )



      OFFICIAL JURY VERDICT FORM-PLAINTIFF QUINN'S CLAIMS
                    AGAINST DEFENDANT KELLY



    Sexual Assault: Regarding Plaintiff Alexandria Quinn's claim of sexual assault,
    what amount of money if any is appropriate to fully and reasonably compensate for
    Plaintiff Alexandria Quinn's injuries?



    Excessive Force: Regarding Plaintiff Alexandria Quinn's claim of excessive or
    unreasonable force, what amount of money if any is appropriate to fully and
    reasonably compensate for Plaintiff Alexandria Quinn's injuries?


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                                     SO SAY WE ALL.



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                                     Foreperson




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